

ORDER

PER CURIAM:
AND NOW, this 16th day of October, 1995, Curnel L. Bridges, Jr., having been suspended from the practice of law in the United States Bankruptcy Court for the Eastern District of Pennsylvania by Order of that Court dated April 28, 1995; the said Curnel L. Bridges, Jr., having been directed on August 7, 1995, to inform this Court of any claim he has that the imposition of discipline in this Commonwealth pursuant to Rule 216(a) and (c)(4), Pa.R.D.E., would be unwarranted and the reasons therefor; and no response thereto having been filed, it is
ORDERED that Curnel L. Bridges, Jr., is suspended from the practice of law in this Commonwealth consistent with the Order of the United States Bankruptcy Court for the Eastern District of Pennsylvania dated April 28, 1995, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
MONTEMURO, J., is sitting by designation.
